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     Attorney at Law
 2   1713 Tulare Street, Suite 221
     Fresno, California 93721
 3
     Telephone: (559) 497-6132
 4
     Attorney for Defendant,
 5   THEARITH PRAK
 6
 7                      IN THE UNITED STATES DISTRICT COURT FOR THE
 8                               EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,        )               Case No. 1: 06 CR 00313 LJO
10                                    )
            Plaintiff,                )               STIPULATION TO CONTINUE
11                                    )               SENTENCING HEARING
                 v.                   )               AND ORDER THEREON
12                                    )
     THEARITH PRAK and                )
13   SAVATH PRAK,                     )
                                      )
14          Defendants.               )
     _________________________________)
15
16          Defendants, THEARITH PRAK and SAVATH PRAK, through their counsel, John F.
17   Garland and Joan Jacobs Levie, and the United States of America, through its counsel, McGregor
18   W. Scott, United States Attorney and Kathleen A. Servatius, Assistant United States Attorney,
19   hereby stipulate to continue the defendant’s sentencing hearing from September 5, 2008 to
20   December 12, 2008 at 8:30 a.m. This continuance is necessary to allow the parties sufficient time
21   to investigate matters relating to sentencing.
22          The parties further stipulate that any delay resulting from this continuance shall be
23   excluded on the following basis:
24          a. Title 18 United States Code Section 3161(h)(8)(A) - that the ends of justice served by
               taking such action outweighs the best interest of the public and the defendant in a
25             speedy trial.
26
     Dated: August 18, 2008                                      /s/ John F. Garland
27                                                                John F. Garland
                                                               Attorney for Defendant
28                                                              THEARITH PRAK


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 1
 2
     Dated: August 18, 2008                                   /s/ Joan Jacobs Levie
 3                                                              Joan Jacobs Levie
                                                              Attorney for Defendant
 4                                                              SAVATH PRAK
 5
 6   Dated: August 18, 2008                                    McGregor W. Scott
                                                              United States Attorney
 7
 8                                                          /s/ Kathleen A. Servatius
                                                        By: KATHLEEN A. SERVATIUS
 9                                                            Assistant U.S. Attorney
10
11
                                             ORDER
12
13            GOOD CAUSE APPEARING, based on the stipulation and the inferences the Court
14   draws from the stipulation of the parties,
15   IT IS HEREBY ORDERED that the sentencing hearing for defendants THEARITH PRAK and
16   SAVATH PRAK is continued to December 12, 2008 at 8:30 a.m.
17
     IT IS SO ORDERED.
18
     Dated:      August 18, 2008                      /s/ Lawrence J. O'Neill
19   b9ed48                                       UNITED STATES DISTRICT JUDGE
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